   1
   2
   3
                                   EXHIBIT A
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26



Case 2:19-bk-11453-MCW
        Exhibit A
                         Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 1 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 2 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 3 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 4 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 5 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 6 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 7 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 8 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 9 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 10 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 11 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 12 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 13 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 14 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 15 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 16 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 17 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 18 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 19 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 20 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 21 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 22 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 23 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 24 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 25 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 26 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 27 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 28 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 29 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 30 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 31 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 32 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 33 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 34 of 35
Case 2:19-bk-11453-MCW   Doc 17-1 Filed 11/05/19 Entered 11/05/19 08:23:20   Desc
                             Exhibit A Page 35 of 35
